                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE



WILLIAM A. FINCH IV                                        )
                                                           )
                                                           )
                                                           )
               Plaintiff,                                  )
                                                           )
                                                           )
                                                           )
                                                           )
                    v.                                              Case No. 3:12-cv-1104
                                                           )
                                                           )
                                                                   Judge Campbell
                                                           )
REGIONS BANK                                               )
                                                           )
                                                           )

                Defendant.
                                    ENTRY OF JUDGMENT




                Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of
  the Federal Rules of Civil Procedure on February 19, 2014.


                                                    KEITH THROCKMORTON, CLERK

                                                    s/ Hannah B. Blaney




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